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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF COLORADO
                      The Honorable Michael E. Romero


  In re:
                                          Case No. 09-11070 MER
  HIGH COUNTRY CLUB, LLC
                                          Chapter 7
      Debtor.

                              NOTICE OF HEARING

        PLEASE TAKE NOTICE that a status conference on the Application for
 Unclaimed Funds filed by PHH Mortgage Corporation will be held on Thursday,
 January 30, 2020, at 10:30 a.m. in Courtroom C, U.S. Custom House, 721 19th
 Street, Denver, Colorado. The primary purpose of the conference is to allow the
 Court to examine the original documents held by the Applicant.

 DATED: January 15, 2020              BY ORDER OF THE COURT:

                                      KENNETH S. GARDNER, CLERK

                                      By: Deborah L. Beatty, Deputy Clerk
                                          United States Bankruptcy Court
                                          U.S. Custom House
                                          721 19th Street
                                          Denver, Colorado 80202-2508
